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                          UNITED STATES DISTRICT COURT
6                        WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
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      ALEJANDRO GARCIA PUENTES,
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                                                 CASE NO.
10                               Plaintiff(s),   2:21−cv−01370−JCC
                         v.
11                                               MINUTE ORDER REASSIGNING
      AMAZON.COM SERVICES LLC et                 CASE
12    al.,
13                             Defendant(s).
14   This action has been assigned to the Honorable John C. Coughenour, United States
15   District Judge. All future documents filed in this case must bear the cause number
16   2:21−cv−01370−JCC and bear the Judge's name in the upper right hand
17   corner of the document.
18
19   DATED October 8, 2021
                                                 Ravi Subramanian
20                                               Clerk of Court
21                                               By: /s/ Tim Farrell
                                                    Deputy Clerk
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